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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


RG Golf Warehouse, Inc.,                           Case No. 19-cv-585 (WMW/DTS)

              Plaintiff,                           AMENDED
                                                   PRETRIAL SCHEDULING ORDER
v.

The Golf Warehouse, Inc.,

              Defendant.


      The following schedule will govern these proceedings unless modified pursuant to
Local Rule 16.3.

Initial Disclosures

       1.     The parties must make their initial disclosures under Rule 26(a)(1) on or
              before December 20, 2019. If a description by category and location of the
              documents is offered pursuant to Fed. R. Civ. P. 26(a)(1)(A)(ii), the party
              will provide a copy of their initial disclosure documents by January 24, 2020.

Motions to Amend

       1.     Motions seeking to join other parties must be filed and served by
              December 6, 2019.

       2.     Motions seeking to amend the pleadings must be filed and served by
              November 20, 2020.

       3.     Motions seeking to add punitive damages must be filed and served by
              August 21, 2020.

Fact Discovery

       1.     Written Discovery

              A.      No more than a total of 25 interrogatories, counted in accordance
                      with Rule 33(a), shall be served by each party.

              B.      No more than 50 document requests shall be served by each party.
                      Objections to document requests must meet the requirements of
                      amended Rule 34(b)(2)(B).
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             C.     No more than 30 requests for admissions shall be served by each
                    party.

      2.     No more than 6 factual depositions, excluding expert witness depositions,
             shall be taken by each party.

      3.     The parties must commence fact discovery procedures in time to be
             completed on or before August 21, 2020.

Expert Discovery

      1.     Each party may call no more than 4 expert(s) to testify.

      2.     Disclosure of the identities of expert witnesses under Rule 26(a)(2)(A), the
             full disclosures required by Rule 26(a)(2)(B) (including the written report
             prepared and signed by each expert witness), and the full disclosures
             required by Rule 26(a)(2)(C), shall be made as follows:

             Identification by Plaintiff on or before June 19, 2020; Disclosures by Plaintiff
             on or before July 17, 2020.

             Identification by Defendant on or before August 14, 2020; Disclosures by
             Defendant on or before September 18, 2020.

      3.     All expert discovery, including expert depositions, must be completed by
             November 13, 2020.

Preservation of Documents and Electronic Discovery

      The parties have discussed the scope of discovery, including relevance and
proportionality and any issues about preserving discoverable information. The parties
have also discussed electronic discovery and agree upon the following:

      See Stipulated ESI Protocol.

Non-Dispositive Motions

      1.     All non-dispositive motions relating to fact discovery must be filed and
             served by August 21, 2020.

      2.     All other non-dispositive motions, including motions relating to expert
             discovery, must be filed and served by November 20, 2020.

      3.     The parties must meet and confer to resolve fact and expert discovery
             disputes when they arise, and if unresolved, bring discovery disputes
             promptly to the Court’s attention.


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       If a non-dispositive motion is filed, it must comply with the Electronic Case Filing
Procedures for the District of Minnesota, Local Rules 7.1, and for discovery motions, also
be in the form prescribed by Local Rule 37.1.

      The “Meet and Confer” requirement must include attempts to meet and confer
through personal contact, rather than solely through correspondence.

        All non-dispositive motions must be scheduled for hearing by calling Terianne
Bender, Judicial Assistant to Magistrate Judge Schultz at 612-664-5460, prior to filing,
except when all parties agree that no hearing is required. Such an agreement must be
expressly set forth in the notice of motion. Once the moving party has secured a hearing
date, it must promptly file a notice of motion informing all parties of the nature of the
motion and the date, time and location of the hearing, along with complete moving papers
as required by Local Rule 7.1. A moving party may not call chambers to “hold” a motion
date without filing complete moving papers as required by Local Rule 7.1 unless it
receives prior permission from the Court.

      Counsel may not notice additional motions for hearing on an already existing
hearing date without first contacting the Court for permission. All motions must be filed
and served within the time periods set forth in this Order and the Local Rules.

       If a discovery motion is related to written discovery or the contents of depositions,
the parties must fill out a chart (attached) that describes each disputed discovery request
and response; each party’s position, and the moving party’s last offered compromise. This
chart must be in Word format and emailed at least three business days before the hearing
to chambers at: Schultz chambers@mnd.uscourts.gov. Failure to provide this chart to
the Court as required by this scheduling order shall result in the cancellation of the
hearing.

Dispositive Motions

        All dispositive motions shall be filed, served, and scheduled on or before
September 18, 2020. Counsel shall first schedule the hearing at least 42 days in the future
by calling District Judge Wright’s Courtroom Deputy, Mona Eckroad, at 651-848-1640.
After the moving party has secured a hearing date, the moving party shall promptly inform
all parties of the nature of the motion and the date, time, and location of the hearing.

       All dispositive motions shall be filed and served in compliance with the Electronic
Case Filing Procedures for the District of Minnesota and in compliance with Local
Rule 7.1, except that any reply memorandum or notice stating that no reply will be filed
must be filed and served within 7 days after the filing of any response. When a motion,
response or reply brief is filed on ECF, two paper courtesy copies of the pleading and all
supporting documents shall be mailed to Courtroom Deputy Mona Eckroad or delivered
to the clerk of courts.




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      Parties are expected to be familiar with and adhere to the Federal Rules, the Local
Rules, and any supplementation of those rules outlined in Judge Wright’s Practice
Pointers and Preferences, available on the District of Minnesota website.

        Notwithstanding the foregoing, no party shall bring a dispositive motion pursuant
to Fed. R. Civ. P. 56 while formal discovery is ongoing without first obtaining permission
from the undersigned magistrate judge. Permission shall be sought by electronically filing
via CM/ECF a letter of no more than three (3) pages briefly setting forth the basis for the
motion, whether discovery relating to the issue or issues to be addressed by the motion
is complete, and why judicial efficiency would be served by allowing the motion to proceed
at this time. The other party or parties may file brief letters in support of or in response to
the request. Denial of a request for permission to file an interim dispositive motion shall
not be taken as an indication of the Court’s view about the merits of the proposed motion.

Privilege/Protection

        The parties agree to follow the procedure set forth in Fed. R. Civ. P. 26(b)(5)(B)
regarding information produced in discovery that is subject to a claim of privilege or
protection as trial-preparation material. Pursuant to Fed. R. Evid. 502, the inadvertent
production of any documents in this proceeding shall not constitute a waiver of any
privilege or protection applicable to those documents.

Protective Order

        The parties intend to enter into a protective order. In the interim, any documents
that any producing party believes should be governed by a protective order shall be
produced to opposing counsel for the attorney’s review only and shall not be withheld on
the basis that no protective order is yet in place. After the protective order is entered, the
producing party must designate the documents under the protective order. Local Rule 5.6
governs filing under seal. Any proposed protective order must include the following
provisions: All counsel acknowledge they have reviewed Local Rule 5.6 which governs
filing under seal, which procedures are incorporated herein by reference.

Joint Motions Regarding Continued Sealing Pursuant to LR 5.6

       A document will be sealed in a civil case “only as provided by statute or rule, or
with leave of court.” LR 5.6(a)(1). The fact that a document may be subject to a protective
order—for example, that a party designated it “confidential” under a protective order—is
not dispositive of whether the Court will order it to remain sealed. Simply stating that a
party designated it confidential, without more, is not an adequate reason or explanation
within the meaning of LR 5.6(d(2)(A) to support a request that the Court order the
document to remain sealed. A party must briefly explain the underlying reason that the
particular information should remain sealed and unavailable to the public. If the reason is
not a commonly recognized one, or there is a statute or regulation that requires the
information to be withheld from the public, the party must identify it and briefly explain
how the information falls under the statute or rule.

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Trial

        This case shall be ready for jury trial as of March 22, 2021. The parties estimate
that trial of this matter will take 5 days.

Practice Pointers and Preferences

      Please refer to Magistrate Judge David T. Schultz’s Practice Pointers and
Preferences which may be found on the Court’s website.

Dated: April 28, 2020                           s/David T. Schultz______
                                                DAVID T. SCHULTZ
                                                U.S. Magistrate Judge




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